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Record of Sworn Statement in Proceedings

U.S. Department of Homeland Security under Section 235(b)(1) of the Act

Office: GENERAL EDWARD LAWRENCE LOGAN
INTERNATIONAL AIRPORT, BOSTON, MA, USA Event Number

Statement by: ALAWIEH, RASHA

In the case of: ALAWIEH, RASHA

Date of Birth: fe Gender (circle one): Male

At: BOSTON (LGN) Date: 03/13
Before:
‘a Signature

(Name and Title)

In the ENGLISH language. Interpreter Employed by

I am an officer of the United States Department of Homeland Security. I am authorized to administer the immigration
laws and to take sworn statements. I want to take your sworn statement regarding your application for admission to the

United States. Before I take your statement, I also want to explain your rights, and the purpose and consequences of this
interview.

You do not appear to be admissible or to have the required legal papers authorizing your admission to the United States.
This may result in your being denied admission and immediately returned to your home country without a hearing. If a
decision is made to refuse your admission into the United States, you may be immediately removed from this country, and if
so, you may be barred from reentry for a period of 5 years or longer.

This may be your only opportunity to present information to me and the Department of Homeland Security to make a
decision. It is very important that you tell me the truth. If you lie or give misinformation, you may be subject to criminal or
civil penalties, or barred from receiving immigration benefits or relief nowor in the future.

Except as I will explain to you, you are not entitled to a hearing or review.

U.S. law provides protection to certain persons who face persecution, harm or torture upon return to their home country.
If you fear or have a concern about being removed from the/United States or about being sent home, you should tell me
so during this interview because you may not have another chan¢e. You will have the opportunity to speak privately
and confidentially to another officer about your fear or concern. That officer will determine if you should remain in the
United States and not be removed because of that fear.

Until a decision is reached in your case, you will remain in the custody of the Department of Homeland Security.

Any statement you make may be used against you in this or any subsequent administrative proceeding.

Q. Do you understand what I've said) to you?

A. Yes.

Q. Any statement you make must™be given freely and voluntarily. Are you willing to
answer my questions at this time?

A. Sure.

Q. Do you swear or affirm that’all the statements you are about to make are true and
complete?

Yes.

Are you comfortable conducting this statement in the English language?

Yes.

What is your full, true and correct name?

Rasha Mostafa Alawieh.«

Have you ever been known by any other name or names?

No.

When were you born?

Where were you born?
Beirut, Lebanon.
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U.S. Department of Homeland Security Continuation Page for Form 1-867A

Alien’s Name File Number Date
ALAWIEH, RASHA SIGMA Event: March 14, 2025
Event No:
- What country are you a citizen of?
- Lebanon.
- Are you a citizen of any other country?
- No.
- Do you have any claim to United States citizenship?
- No.
- Do you have any claim to Lawful Permanent Residency in the United States?
- No.

Do you have any pending petitions before the United States government that would allow
ou to live or work in the United States?
Yes, I have a H1B.
What _is a father's name?

at is your father's citizenship?

Lebanon also.
Where was your father born?
Also Lebanon.
Has your father ever resided in the United States?
No.
Where does your father currently reside?

Beirut, Lebanon.
j mother's name?

What is your mother's citizenship?

Lebanon as well.

Where was your mother born?

Lebanon.

Has your mother ever resided in the United States?

No. Just to visit.

Where does your mother currently reside?

Lebanon.

Are you currently married?

No.

Do you have any children?

No.

Do you have any relatives who are currently Lawful Permanent Residents of the United
States?

A. No.

Q. Do you have any relatives who are currently United States citizens?

A. Yes.

Q. Who are they?

A. Uncles and aunts and their families.

Q. What are their names?

A.

Q. On March 13, 2025, you arrived at’ the United States at Boston Logan International
Airport in Boston, Massachusetts andarrived on Air France flight 334 from Paris, France.
Is this correct?

A. Yes.

Q. When you arrived at the United States a presented yourself as a Lebanese citizen with

our Lebanese passport bearing and a valid, nonimmigrant H1B visa bearing foil
a Is this correct?
- ves.

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U.S. Department of Homeland Security Continuation Page for Form 1-867A

Alien’s Name File Number Date
ALAWIEH, RASHA SIGMA Event March 14, 2025
Event No:

Q. Where did your trip to the US originate from today?

Lebanon and France.

What is the purpose of your trip to the US today?

Because I'm a physician on an H1B visa and I am coming here to work. I was on vacation.
What is your profession here in the US?

Physician. Transplant nephrology.

What is a home address in Lebanon?
tside o ebanon an rance, what countries have you traveled to?

Spain, Syria, Iraq, Iran, Saudi Arabia, Germany, and Italy for transit.

Q. When did you last travel to Iran?

A. I went only once in maybe 2017. Sometime between 2015 and 2018. It was for religious
purposes.

Q. Where in Iran did you travel to?

A. We visit specific places. It's for religious purposes. We visit™~the shrines. Mashhad and
Tehran.

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Q. Did you travel to Qom as well?

A. Maybe. I don't remember exactly but we probably did.

Q. Who did you travel to Iran with?

A. It's like a tour. I went by myself but with a group of people’on the religious tour.
Q. When did you travel to Iraq?

A. Between 2015 and 2018. I went 1 year to Iraq, 1 year to/Iran, and 1 year to Saudi.
Q. Where in Iraq did you travel to?

A. Karbala, Najaf, and Samarra.

Q. What was the purpose of your trip to Iraq?

A. Also religious. There are a lot of famous imams buried ‘there.

Q. Did you travel to Iraq by yourself?

A. I went by myself but on a tour.

Q. When did you travel to Syria?

A. 2006. We fled Lebanon to Syria due to the war with Israel.

Q. How long were you in Syria?

A. Probably a few weeks.

Q. Where in Syria did you go?

A. First to Damascus, and then a village in northern Syria where there are houses that can

accommodate refugees.

Q. Earlier, during the inspection, multiple photos were found of Hezbollah fighters and
martyrs. Please explain these photos.

A. So I have a lot of WhatsApp groups with families and friends who send them. So, I ama
Shia Muslim, and he is a religious figure. He has a lot of teachings, and he is highly
regarded in the Shia community. He is the head of Hezbollah.

Q. You saved these photos to your personal phone. Is this correct?

A. Sometimes they are automatically saved if they are sent to the WhatsApp.

Q. How do you feel about Nasrallah?

A. I think if you listen to one of his» sermons, you would know what I mean. He is a
religious, spiritual person. As I said, he has very high value. His teachings are about
spirituality and morality. Every religious sect has their own thing you go and study.

Q. What do you think of Hezbollah?

A. I am not related in any way to Hezbollah.

Q. I asked what do you think of Hezbollah, not if you are related to Hezbollah. So, I'll
ask again, what do you think of Hezbollah?

A. It's a political party in Lebanon. It has its supporters, and I was not involved in any
way, but it exists. Many people. support it in Lebanon specifically.

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U.S. Department of Homeland Security Continuation Page for Form 1-867A

Alien’s Name File Number Date
ALAWIEH, RASHA SIGMA Event: March 14, 2025
Event No:

Q. Do you support Hezbollah and what the organization stands for?
A. I don't.
Q. But you support and hold high regard for the leader of Hezbollah, Hassan Nasrallah,
correct?
From a religious perspective.
Why did you have multiple photos of Hezbollah martyrs on your phone?
People just send them. I just delete them.
Who was sending you these photos?
WhatsApp groups of friends and families.
During the inspection, multiple photos and videos were found of Ali*Khamenei, the
current leader of Iran. Please explain these.
A. Again, I'm a Shia Muslim. He's a religious figure. It has nothing to do with politics.
It's all religious spiritual things.
Q. The photos and videos of Hezbollah fighters and martyrs, Nasrallah, and Khamenei were
found in your deleted photos folder and appear to have been deleted »within the past 1-2
days. Did you delete these photos prior to traveling to the US?
A. Some of them.
Q. Why did you delete these?
A. Because I don't want the perception. But I can't delete everything. But I know I'm not
doing anything wrong. I'm not related to anything politically or/;militarily. Many of these
things are related to being a Shia Muslim.
Did you delete these photos and videos so they would not»be, found during inspection?
So I could have done that and deleted everything, but Iedid not.
Why did you not delete everything?
Because I'm not doing anything wrong.
Do you support Hezbollah?
No.
If you don't support Hezbollah, why do you hold such \high regard of the former leader
Nasrallah and photos memorializing Hezbollah martyrs?
A. He said lots of things. If you listen to his teachings, you would know what I mean.
Q. Have you ever seen a YouTube video titled "A recitation of a portion of Dua Aby Hamza
al-Thumali by Sayyed Hassan Nasrallah"?
A. I don't remember but many people say the prayer. I could have seen it.
Q. During the inspection, several messages were found of you sending a link to the YouTube
video titled "A recitation of a portion of Dua-Aby Hamza al-Thumali by Sayyed Hassan
Nasrallah". Please explain this.
A. This is a very religious prayer. I think you,are focusing on who said this. Yes, I sent
these things. I encourage you to translate it and listen to it. It is not related to
politics.
Did you or did you not send that video link?
Yes, I did.
Do you know what happened on September 27, 2024?
When he was killed.
During the inspection, messages were found of you expressing your sadness over the death
f Hassan Nasrallah. These messages were sent on September 28, 2024. Can you explain this?
Exactly as I told, he's highly regarded in our community.
Do you support Ali Khamenei?
A. I don't support. It's a purely religious thing. He's a very big figure in our community.
For me it's not political.
Q. Help me understand. You know that Nasrallah was the leader of a foreign terrorist
organization (Hezbollah), and youwhold him in the highest regards as a Sayyed, yet you
choose to ignore the terrible.acts that he advocates for Hezbollah to commit.

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Alien’s Name File Number
ALAWIEH, RASHA SIGMA Event:
Event No:

Date
March 14, 2025

A. I'm not a political person. I'm a physician. It's mainly about faith, especially Shia
Muslim. This is where the connection comes. If you were in my place, it's not hard to
understand. I'm not involved in any of these things. We have these religious scholars; we
have their teachings and their impacts.

Q. You could choose to follow any Sayyed in the Shia community, but you choose to follow
Nasrallah. Why?

A. There are hierarchies right. We don't have many people in his position. Not many other
people are in the same position. There are mainly some few scholars who have their impact.
Q. But why would you choose to follow the leader of a terrorist organization, and continue
to follow him and hold him in such high regard well after his death?

A. Because it's not related to politics. It's related to faith and spirituality.

- Does Hezbollah hold elections in Lebanon?
Yes, they do.
Does that make them a political party in Lebanon?
Yes.
Who is the leader of the Hezbollah party?
Nasrallah.

And Nasrallah is a person that you support and have "admiration" for?
Yes, his teachings.
Do you know an
I'm not sure ab
How do you know
In the university in Beirut. He was younger than me. We»were together in the medical
ward on rotations.

Q. How often do you speak to
A. It's been a while honestly. I would say not often, maybe on occasion like holidays.

Q. When was last time you spoke to him?

A. You can check the WhatsApp. Maybe some time last year, after he got married. I don't
remember exactly.

Q. Did you ever discuss your feelings on Nasrallah witha

A. I don't think so. It's been a while since we talked.

Q. Although you have attempted to claim why you support Hassan Nasrallah, the former
secretary general of Hezbollah, you have not entirely described why you are in possession
of and choose to send multiple photos of Hezbollah martyrs. Why are you sending these
martyr photos?

A. I don't think I have sent them. Honestly, ,I mostly receive them on WhatsApp.

Q. You know on WhatsApp how it says you sent something, there are some messages that say
you sent them. Can you explain?

A. I mostly receive. Sometimes people want to know if they are from the village.

Q. But you have previously sent photos of Hezbollah martyrs to other people. Is this
correct?

A. In this context, yes, I have.

Q. Are you aware that Hezbollah was designated a foreign terrorist organization, by the
U.S., on October 8, 1997?

A. Not about the date but I guess yes» I'm not much into politics but yes.

Q. Just to be clear, you are aware that Hezbollah is deemed a terrorist group by the U.S?
A. I think so.

Q. Just to be clear, regardless of.your reasoning, you actively share photos and videos of
Nasrallah and Hezbollah martyrs,, both considered FTO's in the US. Is this correct?

A. Yes.

Q. Does you family in Tyre have ties to Hezbollah?

A. They are not in Hezbollah,.but, they support them.

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is dad's name but I know a friend named

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Alien’s Name File Number
ALAWIEH, RASHA SIGMA Event:

Event No:

Date
March 14, 2025

Q. Have you ever attended a Hezbollah rally?

A. I attended the commemoration of the death of Nasrallah during this trip while I was
waiting for my visa.

Q. Who did you attend this event with?

A. My family which were my cousins

Q. How long do you go for?

A. A couple of hours.

Q. You have been found to be inadmissible under INA Section 212 (a) (7) (A) (i) (I) as an
immigrant without a valid and unexpired immigrant document because your true intentions
could not be determined due to derogatory information discovered during the inspection
process. Do you understand?

A. Yes.

Q. You are being Expeditiously Removed from the United States under INA 235(b) (1) and

barred for a period of five years from the date of your departure. ~Do you understand?
A. Yes.

Q. Your visa will be cancelled in accordance with INA Section 235(b) (1). Do you
understand?
A. Yes.

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U.S. Department of Homeland Security Proceedings under Section 235(b)(1) of the Act

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Q: Why did you leave your home country or country of last residence?

A. For medical training and experience. I came on for training on a J visa and now I'm
practicing on an H1B visa.

Q. Do you have any fear or concern about being returned to your home country or being removed from the United States?

Q. Would you be harmed if you are returned to your home country or country of last residence?

Q. Do you have or is there anything else you would like to add?

A. No

I have read (or have had read to me) this statement, consistingrof “7 _pages (including this page). I
state that my answers are true and correct to the best of my knowledge and that this statement is a full,
true and correct record of my interrogation on the date indicated*by the above named officer of the
Department of Homeland Security. I have initialed each page of this statement (and the

corrections noted on page(s) ).

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Signature:

ALAWIEH, RASHA

Sworn and subscribed to before me at) BOSTON (LGN)
on March 13, 2025

Digitally Acquired Signature

Signature of Immigration Officer

CBP OFFICER

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